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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FEDERAL NATIONAL MORTGAGE            )
ASSOCIATION (“FANNIE MAE”), A        )
CORPORATION ORGANIZED AND            )
EXISTING UNDER THE LAWS OF THE       )                    Case No. 1:14-cv-4664
UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                    Judge: Hon. Andrea R. Wood
     v.                              )
                                     )                    Magistrate: Hon. Sidney I. Schenkier
GEORGE L. OBRADOVICH, et al.,        )
                                     )
                Defendants.          )
                                     )
GEORGE L. OBRADOVICH and JENNIFER M. )
OBRADOVICH;                          )
                                     )
                Counter/Third-Party  )
                Plaintiffs,          )
                                     )
     v.                              )
                                     )
FEDERAL NATIONAL MORTGAGE            )
ASSOCIATION (“FANNIE MAE”), et al.,  )
                                     )
                Counter/Third-Party  )
                Defendants.          )

       FANNIE MAE AND SETERUS’S MOTION FOR SUMMARY JUDGMENT

       Counter/Third-Party Defendants Federal National Mortgage Association (“Fannie Mae”)

and Seterus, Inc. (“Seterus”) (collectively, the “Fannie Mae Defendants”), by their attorneys,

pursuant to Federal Rule of Civil Procedure 56, submit this Motion for Summary Judgment as to

George and Jennifer Obradovich’s (“Borrowers”) First Amended Counterclaims and Third

Party Claims (“FAC”).

       1.     Contemporaneously with the filing of this Motion, the Fannie Mae Defendants filed



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a Memorandum in Support of their Motion for Summary Judgment.

       2.      Contemporaneously with the filing of this Motion, the Fannie Mae Defendants also

filed a Statement of Material Facts pursuant to Local Rule 56.1.

       3.      For the reasons explained in detail in the Memorandum in Support of Motion for

Summary Judgment, which is incorporated herein, the Fannie Mae Defendants are entitled to

summary judgment in their favor and against the Borrowers as to the Borrowers’ FAC.

       WHEREFORE, Fannie Mae and Seterus request that this Court grant summary

judgment in their favor and against George Obradovich and Jennifer Obradovich on all claims

pursuant to Federal Rule of Civil Procedure 56, and this this Court provide such further and

additional relief as it deems just and appropriate.




Date: December 18, 2017                      Respectfully submitted,

                                              FEDERAL NATIONAL MORTGAGE
                                              ASSOCIATION and SETERUS, INC.,
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Ernest P. Wagner
Jeffrey T. Karek
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                                     Certificate of Service

        Jeffrey T. Karek, an attorney, certifies that on December 18, 2017, he caused the service
of a true and correct copy of this Memorandum and any referenced exhibits via ECF on all parties
who are filing users.

                                              /s/ Jeffrey T. Karek




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